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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
UNITED STATES OF AMERICA,

                    Plaintiff,                 Case No. 2:11-cr-20425
                                               Hon. Robert H. Cleland
v

AMANDA MORRIS,

                    Defendant.
                                   /

                     ORDER FOR WAGE ASSIGNMENT

      This matter having come before the Court upon the agreement of the parties,

and the Court finding cause, now therefore,

      IT IS ORDERED that defendant, Amanda Morris shall assign $50.00 bi-

weekly, from her bi-weekly wages, for application against the judgment in this

case; and

      IT IS FURTHER ORDERED that Shish Garden shall deduct the sum of

$50.00 per bi-weekly pay period from the gross bi-weekly wages of Amanda

Morris, whose social security number is XXX-XX-4673; and

      IT IS FURTHER ORDERED that Shish Garden shall remit the monies so

deducted to the Clerk of the Court – Eastern District of Michigan, 5th Floor,

Theodore Levin US Courthouse and Federal Building, 231 W. Lafayette, Detroit,

MI 48226; and
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      IT IS FURTHER ORDERED that the Clerk of the Court shall disburse these

funds in accordance with the provisions of the judgment in this case; and

      IT IS FURTHER ORDERED that this order shall remain in effect until such

time as the judgment in this case is paid in full, Amanda Morris is no longer

employed with, or working for, Shish Garden or further order of the Court; and

      IT IS FURTHER ORDERED that the United States shall promptly serve a

copy of this order on the defendant and on Shish Garden, 22673 Allen Road,

Woodhaven, MI 48183.




Dated: January 13, 2016               s/Robert H. Cleland
                                      HONORABLE ROBERT H. CLELAND
                                       United States District Judge




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